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                                                                     FILED: October 30, 2018

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                          ___________________

                                            No. 18-2293
                                     (1:17-cv-00240-MR-DLH)
                                       ___________________
         JOSEPH CLARK, On Behalf of Himself and All Others Similarly Situated

                      Plaintiff - Appellant

         v.

         HARRAH'S NC CASINO COMPANY, LLC, d/b/a Harrah's Cherokee Casino
         Resort, d/b/a Harrah's Cherokee Valley River Casino and Hotel; BROOKS
         ROBINSON

                      Defendants - Appellees


        This case has been opened on appeal.

         Originating Court                          United States District Court for the
                                                    Western District of North Carolina at
                                                    Asheville
         Originating Case Number                    1:17-cv-00240-MR-DLH
         Date notice of appeal filed in             10/26/2018
         originating court:
         Appellant (s)                              Joseph Clark

         Appellate Case Number                      18-2293
         Case Manager                               Rickie Edwards
                                                    804-916-2702




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